l
MF|LED C_a&eLBD[E~[Cr-OSZ?l-D.]H Document 10 Filed 08/27/18 Page 1 of Jl

~ ____Reca'iveo ____COPY . . t
AO 442 (Rev. ll/ll) zire§twarrant `
hlh

¢.vlu

ct%.Ml%? UYN czg§kwbi \HTED STATES DISTRICT Couigr

 

 

;;§£

DEPuTY rome z 45 f'~;

District of Arizona

 

 

 

United States of America

V.
Case NO_ CR-18-O8271-PCT-DJH

Nathan Suther|and

 

Defendant gi ' '

ARRE ST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge Without unnecessary delay

(name ofperson to be arrested Nathan Sutherland ,
Who is accused of an offense or violation based on the following document filed With the court:

 

d lndictment CI Supersedinglndictment IJ lnformation ij Superseding lnformation EI Complaint
ij Probation Violation Petition [:l Supervised Release Violation Petition \:l Violation Notice E'| Order of the Court

This offense is briefly described as follows:

18:1153 and 113(3)(8) ClR - Assau|t by Strangu|ation

Date: 08/15/2018w/{/1/(';/\IW /w@/LV

Issuing Mer s sig) azure

City and state: Phoenix, Arizona N|iche||e Sanders, Deputy C|erk

Printea' name and title

 

 

 

Return

 

 

 

 

This Warrantw eceived on daze) `§Z § gzé )§)<b , and the person was arrested on (daze) § Zi/I 7[}]§
at (cily and state) ‘/\asm(`ij . `
ZXQQ\Q@,Q y VU) K/¢»\
Date: l 1 ' h b
M U;estin( ojj?cer’s slg lure
mr / dixing M b

V\-’ \»\

 

 

Printed name and title

 

 

 

